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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMERIFIRST FINANCIAL, INC., et al.,                                   Case No. 23-11240 (TMH)

                                   Debtors.1                          (Jointly Administered)

                                                                      Docket Ref. No. 102

    ORDER ESTABLISHING PROCEDURES FOR INTERIM COMPENSATION AND
       REIMBURSEMENT OF EXPENSES FOR RETAINED PROFESSIONALS

         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) (a) authorizing the Debtors to

establish procedures for interim compensation and reimbursement of expenses for Professionals

and (b) granting related relief, all as more fully set forth in the Motion; and the district court having

jurisdiction under 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157

pursuant to the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that this Court may

enter a final order consistent with Article III of the United States Constitution; and this Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in

the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court



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    The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
    Phoenix 1040 LLC (2550); and AmeriFirst Financial, Inc. (4557). The location of Debtor AmeriFirst Financial,
    Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 1550 McKelleps
    Road, Suite 117, Mesa, Arizona 85203.
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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate and no other notice need be provided; and this Court having reviewed the Motion

and determined that the legal and factual bases set forth in the Motion establish just cause for the

relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.       The Motion is granted as set forth herein.

        2.       All Professionals in these cases may seek compensation in accordance with the

following procedures (collectively, the “Compensation Procedures”):

        (a)      On or after the 21st day of each month following the month for which
                 compensation is sought, each Professional seeking compensation may file
                 an application (each, a “Monthly Fee Statement”) for interim allowance of
                 compensation for services rendered and reimbursement of expenses
                 incurred during the preceding month, and serve such Monthly Fee
                 Statement, on: (a) AmeriFirst Financial Inc., 1550 McKelleps Road, Suite
                 117, Mesa, Arizona 85203, Attn.: Chief Restructuring Officer; (b) the
                 proposed counsel to the Debtors, Pachulski Stang Ziehl & Jones LLP, 919
                 North Market Street, 17th Floor, Wilmington, Delaware 19801, Attn: Laura
                 Davis Jones, Esq. (ljones@pszjlaw.com); (c) counsel for the DIP Agent and
                 the DIP Lenders, Quinn Emanuel Urquhart & Sullivan, LLP, Attn.: Patricia
                 B. Tomasco, 711 Louisiana Street, Suite 500, Houston, TX 77002 and
                 Quinn Emanuel Urquhart & Sullivan, LLP, Attn.: Bennett Murphy,865 S.
                 Figueroa Street, 10th Floor, Los Angeles, CA 90017; email:
                 pattytomasco@quinnemanuel.com, bennettmurphy@quinnemanuel.com;
                 (d) the Office of The United States Trustee, 844 King Street, Suite 2207,
                 Lockbox 35, Wilmington, Delaware 19801, Attn: Linda Richenderfer, Esq.
                 (linda.richenderfer@usdoj.gov); and (e) counsel to any statutory committee
                 appointed in these chapter 11 cases (each, an “Application Recipient” and
                 collectively, the “Application Recipients”). Any Professional that fails to
                 file a Monthly Fee Statement for a particular month or months may
                 subsequently submit a Monthly Fee Statement that includes a request for
                 compensation earned or expenses incurred during the previous months.

        (b)      Each Application Recipient will have until 4:00 p.m. (Prevailing Eastern
                 Time) 21 days after service of a Monthly Fee Statement to review the
                 request. Upon the expiration of such 21-day period, a Professional may file
                 a certificate of no objection with the Court with respect to the unopposed
                 portion of the fees and expenses requested in its Monthly Fee Statement
                 (each, a “CNO”). After a CNO is filed with the Court, the Debtors are
                 authorized to pay the Professional an amount (the “Actual Monthly

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                 Payment”) equal to 80% of the fees and 100% of the expenses requested in
                 the applicable Monthly Fee Statement (the “Maximum Monthly Payment”)
                 that are not subject to an objection pursuant to subparagraph (c) below.

        (c)      If any party in interest objects to a Monthly Fee Statement, the objecting
                 party shall, within 21 days of service of the Monthly Fee Statement, serve a
                 written notice upon the respective Professional and each of the Application
                 Recipients (the “Notice of Objection to Monthly Fee Statement”) setting
                 forth the precise nature of the objection and the amount at issue. Thereafter,
                 the objecting party and the Professional shall attempt to resolve the
                 objection on a consensual basis. If the parties reach an agreement, the
                 Debtors shall promptly pay 80% of the agreed-upon fees and 100% of the
                 agreed-upon expenses. If, however, the parties are unable to reach a
                 resolution of the objection within fourteen days after service of the
                 objection, the objecting party shall file its objection (the “Objection”) with
                 the Court within three business days and serve such Objection on the
                 respective Professional and each of the Application Recipients. Thereafter,
                 the Professional may either (i) file with the Court a response to the
                 Objection, together with a request for payment of the difference, if any,
                 between the Maximum Monthly Payment and the Actual Monthly Payment
                 made to the affected Professional (the “Disputed Amount”) or (ii) forego
                 payment of the Disputed Amount until the next hearing on an Interim Fee
                 Application or Final Fee Application (each as defined herein), at which time
                 the Court will consider the Objection, if requested by the parties.

        (d)      Each Professional may submit its first Monthly Fee Statement on or after
                 October 23, 2023. This initial Monthly Fee Statement will cover the period
                 from the Petition Date through September 30, 2023. Thereafter, the
                 Professionals may file Monthly Fee Statements in the manner described
                 above.

        (e)      Beginning with the period ending on November 30, 2023 and at
                 three-month intervals thereafter (the “Interim Fee Period”), each of the
                 Professionals may file and serve on the Application Recipients an interim
                 fee application (each, an “Interim Fee Application”) for compensation and
                 reimbursement of expenses sought in the Monthly Fee Statements served
                 during such period. Each Professional shall serve notice of its Interim Fee
                 Application (which identifies the Professional seeking compensation,
                 discloses the period for which the payment of compensation and
                 reimbursement of expenses is being sought, and describes the amount of
                 compensation and expenses sought) on all parties that have entered their
                 appearance pursuant to Bankruptcy Rule 2002. Application Recipients will
                 have 21 days after service of an Interim Fee Application to object thereto.
                 The first Interim Fee Application should cover the Interim Fee Period from
                 the Petition Date through and including November 30, 2023.



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        (f)      The Debtors will request that the Court schedule a hearing on Interim Fee
                 Applications at least once every three months or at such other intervals as
                 the Court deems appropriate. The Court, in its discretion, may approve an
                 uncontested Interim Fee Application without the need for a hearing upon
                 the Professional’s filing of a CNO. Upon allowance by the Court of a
                 Professional’s Interim Fee Application, the Debtors shall be authorized to
                 promptly pay such Professional all allowed fees (including the 20%
                 holdback) and expenses not previously paid.

        (g)      A pending Objection to payment of compensation or reimbursement of
                 expenses will not disqualify a Professional from the future payment of
                 compensation or reimbursement of expenses under the Compensation
                 Procedures.

        3.       Neither (a) the payment of or the failure to pay, in whole or in part, monthly interim

compensation and/or reimbursement of expenses under the Compensation Procedures nor (b) the

filing of or failure to file an Objection with the Court as to any monthly or interim compensation

and/or reimbursement of expenses will bind any party in interest or the Court with respect to the

final allowance of applications for compensation and reimbursement of expenses of Professionals.

All fees and expenses paid to Professionals under the Compensation Procedures are subject to

challenge and disgorgement until final allowance by the Court.

        4.       In each Interim Fee Application and Final Fee Application, all attorneys who have

been or are hereafter retained pursuant to sections 327, 328, or 1103 of the Bankruptcy Code,

unless such attorney is retained by the Debtors pursuant to any order entered in connection with

the retention and compensation of “ordinary course” professionals (such professionals,

the “Required Professionals”) (a) shall apply for compensation for professional services rendered

and reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court and

(b) intend to make a reasonable effort to comply with the U.S. Trustee’s requests for information

and additional disclosures as set forth in the Guidelines for Reviewing Applications for

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Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in

Larger Chapter 11 Cases Effective as of November 1, 2013, both in connection with any Interim

Fee Application and Final Fee Application to be filed by the Required Professionals in these

chapter 11 cases.

        5.       Each member of the Committee and any other official committee formed by the

U.S. Trustee is permitted to submit statements of expenses incurred in the performance of the

duties of the committee (excluding third-party counsel expenses of individual committee

members) and supporting vouchers to the respective committee’s counsel, which counsel will

collect and file the committee members’ requests for reimbursement with this Court in accordance

with the Compensation Procedures.

        6.       The Professionals shall only be required to serve (a) the Monthly Fee Statements,

the Interim Fee Applications, and the Final Fee Application on the Application Recipients, and

(b) the notice of hearings on the Interim Fee Applications and Final Fee Applications on all other

parties that have filed a notice of appearance with the Clerk of this Court and requested notice of

pleadings in these chapter 11 cases.

        7.       All notices given in accordance with the Compensation Procedures shall be deemed

sufficient and adequate notice and in full compliance with the applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.

        8.       All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

        9.       Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.



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        10.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

        11.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

        12.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




            Dated: September 27th, 2023             THOMAS M. HORAN
            Wilmington, Delaware                    UNITED STATES BANKRUPTCY JUDGE



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